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Kathleen A. McCallister
Chapter 13 Trustee
P.O. Box 1150
Meridian, ID 83680
(208) 922-5100 - Telephone
(208) 922-5599 - Facsimile
kam@kam13trustee.com

                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO

 IN RE:                                                 CHAPTER 13

 JASON S. MONROE,                                       CASE NO. 19-00561-JMM

        Debtor(s).

            NOTICE OF HEARING ON TRUSTEE’S MOTION TO DISMISS


       PLEASE TAKE NOTICE that on June 28, 2022 at 1:30 p.m., or as soon thereafter as

the parties may be heard, the court will call up for hearing Trustee’s Motion to Dismiss filed

May 16, 2022, via telephonic hearing.

       Parties shall call into the number below at least ten (10) minutes prior to the start of the

hearing. The courtroom deputy will take roll, after which your phone should be placed on mute

until your case is called. Once you are finished with your case(s), you may hang up.

       Conference Number: 1-669-254-5252

       Access Code: 160-093-0120

DATED: June 14, 2022

                                                       /s/ Kathleen McCallister
                                                      Kathleen McCallister, Trustee
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                                CERTIFICATE OF SERVICE

        I, HEREBY CERTIFY that on June 14, 2022, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

Office of the U.S. Trustee
ustp.region18.bs.ecf@usdoj.gov

Jon R. Wilson
Attorney at Law
jon@boiselaw.org


      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non CM/ECF Registered Participants in the manner indicated:

       Via first class mail, postage prepaid addressed as follows:

JASON S. MONROE
1125 E LOCUST LN
NAMPA, ID 83686


                                                     /s/ Shawna Williams
                                                    Shawna Williams, Office Manager
